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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
______________________________________
In Re:

       Joseph A. DiMino, Jr.                                  Case No.: 23-30672-WAK

       Debtor.                                                Chapter 13

______________________________________

                           ORDER LIFTING AUTOMATIC STAY

       Upon the application of M&T Bank for an Order pursuant to Section 362(d) of the

Bankruptcy Code, lifting and vacating the automatic stay as to the to allow it to repossess property

known as a 2015 Mercedes-Benz C-Class motor vehicle bearing vehicle identification number

55SWF4KB8FU031553 (the “Collateral”), and a Conditional Order being entered by the Court on

January 30, 2024 and the Debtor defaulting on said Conditional Order and sufficient cause

appearing therefore, it is hereby

       ORDERED, that the automatic stay as to the Debtor is hereby lifted and vacated permitting

M&T Bank to proceed with the repossession and sale of the Collateral, and it is further

       ORDERED, that the provisions of this Order shall not affect the rights of the Trustee to

any surplus monies which may arise as a result of the sale of the Collateral, and it is further

       ORDERED, that the Conditional Order entered on January 30, 2024, be and hereby is

vacated.



                                                      SO ORDERED:


Entered:

                                                      ______________________________
                                                      Hon. Wendy A. Kinsella
                                                      United States Bankruptcy Judge
                                                  1
